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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                              NORTHERN DISTRICT OF CALIFORNIA

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                                   6     IN RE GOOGLE PLAY STORE                            MDL Case No. 21-md-02981-JD
                                         ANTITRUST LITIGATION                               Member Case No. 20-cv-05671-JD
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                                   8                                                        PERMANENT INJUNCTION

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                                  11          This permanent injunction is entered in MDL member case Epic Games, Inc. v. Google
                                  12   LLC et al., Case No. 20-cv-05671-JD, on the jury verdict against Google under Sherman Act
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                                  13   Sections 1 and 2, 15 U.S.C. §§ 1, 2, and the Cartwright Act, Cal. Bus. & Prof. Code §§ 16700 et
                                  14   seq., and the Court’s finding that Google violated the California Unfair Competition Law, Cal.
                                  15   Bus. & Prof. Code §§ 17200 et seq.
                                  16          1.      This injunction applies to Google LLC and each of its parent, affiliated, and
                                  17   subsidiary entities, officers, agents, employees, and any person in active concert or participation
                                  18   with them, who receive actual notice of this order by personal service or otherwise (together,
                                  19   Google).
                                  20          2.      Unless otherwise stated, the effective date of the injunction is November 1, 2024.
                                  21          3.      The geographic scope of the injunction is the United States of America.
                                  22          4.      For a period of three years ending on November 1, 2027, Google may not share
                                  23   revenue generated by the Google Play Store with any person or entity that distributes Android
                                  24   apps, or has stated that it will launch or is considering launching an Android app distribution
                                  25   platform or store.
                                  26          5.      For a period of three years ending on November 1, 2027, Google may not condition
                                  27   a payment, revenue share, or access to any Google product or service, on an agreement by an app
                                  28   developer to launch an app first or exclusively in the Google Play Store.
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                                   1          6.      For a period of three years ending on November 1, 2027, Google may not condition

                                   2   a payment, revenue share, or access to any Google product or service, on an agreement by an app

                                   3   developer not to launch on a third-party Android app distribution platform or store a version of an

                                   4   app that includes features not available in, or is otherwise different from, the version of the app

                                   5   offered on the Google Play Store.

                                   6          7.      For a period of three years ending on November 1, 2027, Google may not condition

                                   7   a payment, revenue share, or access to any Google product or service, on an agreement with an

                                   8   original equipment manufacturer (OEM) or carrier to preinstall the Google Play Store on any

                                   9   specific location on an Android device.

                                  10          8.      For a period of three years ending on November 1, 2027, Google may not condition

                                  11   a payment, revenue share, or access to any Google product or service, on an agreement with an

                                  12   OEM or carrier not to preinstall an Android app distribution platform or store other than the
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                                  13   Google Play Store.

                                  14          9.      For a period of three years ending on November 1, 2027, Google may not require

                                  15   the use of Google Play Billing in apps distributed on the Google Play Store, or prohibit the use of

                                  16   in-app payment methods other than Google Play Billing. Google may not prohibit a developer

                                  17   from communicating with users about the availability of a payment method other than Google

                                  18   Play Billing. Google may not require a developer to set a price based on whether Google Play

                                  19   Billing is used.

                                  20          10.     For a period of three years ending on November 1, 2027, Google may not prohibit a

                                  21   developer from communicating with users about the availability or pricing of an app outside the

                                  22   Google Play Store, and may not prohibit a developer from providing a link to download the app

                                  23   outside the Google Play Store.

                                  24          11.     For a period of three years, Google will permit third-party Android app stores to

                                  25   access the Google Play Store’s catalog of apps so that they may offer the Play Store apps to users.

                                  26   For apps available only in the Google Play Store (i.e., that are not independently available through

                                  27   the third-party Android app store), Google will permit users to complete the download of the app

                                  28   through the Google Play Store on the same terms as any other download that is made directly
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                                   1   through the Google Play Store. Google may keep all revenues associated with such downloads.

                                   2   Google will provide developers with a mechanism for opting out of inclusion in catalog access for

                                   3   any particular third-party Android app store. Google will have up to eight months from the date of

                                   4   this order to implement the technology necessary to comply with this provision, and the three-year

                                   5   time period will start once the technology is fully functional.

                                   6          12.     For a period of three years, Google may not prohibit the distribution of third-party

                                   7   Android app distribution platforms or stores through the Google Play Store. Google is entitled to

                                   8   take reasonable measures to ensure that the platforms or stores, and the apps they offer, are safe

                                   9   from a computer systems and security standpoint, and do not offer illegal goods or services under

                                  10   federal or state law within the United States, or violate Google’s content standards. The review

                                  11   measures must be comparable to the measures Google is currently taking for apps proposed to be

                                  12   listed in the Google Play Store. If challenged, Google will bear the burden of proving that its
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                                  13   technical and content requirements and determinations are strictly necessary and narrowly tailored.

                                  14   Google may require app developers and app store owners to pay a reasonable fee for these

                                  15   services, which must be based on Google’s actual costs. Google will have up to eight months

                                  16   from the date of this order to implement the technology and procedures necessary to comply with

                                  17   this provision, and the three-year time period will start once the technology and procedures are

                                  18   fully functional. For the duration of this time period, the Technical Committee described in

                                  19   paragraph 13 below will in the first instance decide challenges to Google’s review decisions, with

                                  20   the Court serving as the final word when necessary.

                                  21          13.     Within thirty days of the date of this order, the parties will recommend to the Court

                                  22   a three-person Technical Committee. Epic and Google will each select one member of the

                                  23   Technical Committee, and those two members will select the third member. After appointment by

                                  24   the Court, the Technical Committee will review disputes or issues relating to the technology and

                                  25   processes required by the preceding provisions. If the Technical Committee cannot resolve a

                                  26   dispute or issue, a party may ask the Court for a resolution. The Technical Committee may not

                                  27   extend any deadline set in this order, but may recommend that the Court accept or deny a request

                                  28   to extend. Each party will bear the cost of compensating their respective party-designated
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                                   1   committee member for their work on the committee. The third member’s fees will be paid by the

                                   2   parties in equal share.

                                   3          14.     The Court will retain jurisdiction over the injunction for all purposes. Google or

                                   4   Epic may request a modification of the injunction for good cause.

                                   5          IT IS SO ORDERED.

                                   6   Dated: October 7, 2024

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                                                                                                   JAMES DONATO
                                   9                                                               United States District Judge
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